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    EXHIBIT 4
  Case 3:16-md-02741-VC Document 2593-5 Filed 01/30/19 Page 2 of 4
                           Simoun Gebeyehou

 1                  UNITED STATES DISTRICT COURT
 2                NORTHERN DISTRICT OF CALIFORNIA
 3
 4    IN RE ROUNDUP PRODUCTS            )
                                        )
 5    LIABILITY LITIGATION              )
                                        )    Case No.
 6                                      )    3:16-MD-05813-vc
                                        )
 7    This document relates to:         )    MDL No. 2741
                                        )
 8    Simoun Gebeyehou v.               )
      Monsanto co.,                     )
 9     3:16-cv-05813-VC                  )
      __________________________        )
10
11
12
13
14
                                  DEPOSITION OF
15
                               SIMOUN GEBEYEHOU
16
                         TUESDAY, NOVEMBER 13, 2018
17
18
19
20
21    REPORTER: KIMBERLY E. D'URSO, RPR, CSR NO. 11372
22
23
24
25

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                                                     Page 98                                                         Page 100
 1 there was an inspection was broken. When did it break?        1      A. I don't even remember. It must have been many
 2      A. Well, prior to 2014.                                  2   years ago. As I said earlier, before I had an accident,
 3          Which one was broken, anyway?                        3   I used the carryover sprayer. What it looks like, I
 4      Q. What did you use after the sprayer broke?             4   have no idea. But they found a piece of the pipe left
 5      A. 2014?                                                 5   over from the...
 6      Q. Well, you told me that -- you told me that the        6      Q. And then separate and apart from that sprayer,
 7   sprayer that was in your garage when they did the           7   was there this RL Flo-Master sprayer?
 8   inspection broke prior to 2014; correct? Did I              8      A. That's it.
 9   understand that right?                                      9      Q. And when did you acquire that sprayer?
10      A. I might have broken it 2014, right there. I          10      A. I have been using it ever since. 20 years. I
11   don't know when it got broke. I don't know when it         11   don't know the exact date. I might have replaced it
12   broke.                                                     12   too.
13      Q. After it broke, what did you use to spray?           13      Q. Do you still have the Flo-Master sprayer?
14      A. That's why I say 2014, I started to use the          14      A. No more.
15   small one, the tiny one, because I was not using it very   15      Q. When --
16   aggressively.                                              16      A. I have -- still available -- I don't know who
17      Q. That sprayer that was in the garage that's           17   told you that it's not working. It's working.
18   broken, when did you acquire it?                           18      Q. Where -- where -- where is the RL Flo-Master
19      A. Which one is broken? I don't remember.               19   sprayer now?
20      Q. The one that's currently in the garage.              20      A. In my house.
21      A. It was around a pipe that they found?                21      Q. Did you make it available to the people that
22      Q. Yes.                                                 22   did the property inspection on November 12th?
23      A. Oh, that's one I thought -- I don't even know        23      A. Yes.
24   where it was thrown. But I think it is one of those        24      Q. You showed them the RL Flo-Master?
25   that I use for carryover.                                  25         THE WITNESS: Yesterday; right?

                                                    Page 99                                                         Page 101
 1    Q. The sprayer that's -- and when did you acquire          1       MR. TSADIK: Yesterday, yeah. It was
 2 that?                                                         2 yesterday.
 3    A. I have no idea. A long time ago.                        3       THE WITNESS: Yes.
 4    Q. And is that the sprayer you used through when           4 BY MR. SLONIM:
 5 it broke, maybe in 2014?                                      5    Q. What was the weather like when you applied
 6    A. No, no, no. That time, I use the 1 gallon.              6 Roundup?
 7 The 1-gallon spray.                                           7       MR. TSADIK: Objection.
 8    Q. Okay. So I'm confused. Tell me -- the sprayer           8       THE WITNESS: It depends. Either rain had just
 9 that's in the garage that was made available when the         9 stopped or rain is going to start or sunny day or cloudy
10 inspection was done, when did you acquire that sprayer?      10 day. The weather, like, not on East Coast. It varies
11        MR. TSADIK: I think you called it Flo-Master          11 from day to day.
12 or whatever.                                                 12 BY MR. SLONIM:
13 BY MR. SLONIM:                                               13    Q. In terms of the wind conditions, did you try to
14    Q. The RL Flo-Master.                                     14 apply Roundup when the wind was pretty calm?
15    A. Oh, a different word. The Flo-Master, when did         15    A. Try to. But not practical.
16 I acquire it? I don't remember when I acquired it. But       16    Q. And because you want to make sure you get the
17 it must be about 10, 15 years ago. Usually there's only      17 product on the portion of the -- on the target, right,
18 one available, you know. Sometimes I use some                18 on the portion of the weeds or property that you're --
19 Flo-Master type thing. It gets fragile, broke, and then      19    A. If it's windy, I usually use target jet spray
20 I buy a new one. It's not too expensive.                     20 because it's concentrated. But if it is misty, it blows
21    Q. There was a 1-gallon sprayer in the garage that        21 all over. Sometimes it does too. The wind comes right
22 had been buried under some stuff.                            22 in the middle of it.
23    A. Okay. Now you're talking something else.               23    Q. But in general, when -- you would try to spray
24 You're talking about the one carryover.                      24 when the weather was good and conducive to spraying?
25    Q. When did that one break?                               25    A. Yes.

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                                            Simoun Gebeyehou
                                                   Page 166                                                                 Page 168
 1    Q. And you have provided -- have you provided that        1 STATE OF CALIFORNIA                )
 2 information to the Defendant in your written response to                         ) ss:
 3 discoveries? Yes or no?                                      2 COUNTY OF ALAMEDA                      )
 4    A. The what?                                              3
                                                                4         I, KIMBERLY E. D'URSO, do hereby certify:
 5    Q. You have provided -- you have listed your
                                                                5        That the witness named in the foregoing
 6 problems with respect to your daily living situation
                                                                6 deposition was present and duly sworn to testify to the
 7 in --
                                                                7 truth in the within-entitled action on the day and date
 8    A. Oh, yeah.                                              8 and at the time and place therein specified;
 9        MR. TSADIK: Okay. That's all right.                   9        That the testimony of said witness was reported
10        (Reporter clarification.)                            10 by me in shorthand and was thereafter transcribed through
11        THE WITNESS: I said it clearly what kind of          11 computer-aided transcription;
12 suffering, what kind of pain, what kind of disease          12        That the foregoing constitutes a full, true and
13 generated. I thought you gave me a copy of it.              13 correct transcript of said deposition and of the
14        MR. TSADIK: That's all right. That's okay.           14 proceedings which took place;
15 That's okay.                                                15        Further, that if the foregoing pertains to the
16        Okay. I have no further questions.                   16 original transcript of a deposition in a federal case,
                                                               17 before completion of the proceedings, review of the
17        MR. SLONIM: Good. Thank you very much.
                                                               18 transcript [ ] was [ ] was not requested.
18        THE WITNESS: Off the record, 3:25 p.m.
                                                               19        That I am a disinterested person to the said
19        (3:25 p.m., deposition concluded.)
                                                               20 action;
20                --oOo--
                                                               21        IN WITNESS WHEREOF, I have hereunder subscribed
21
                                                               22 my hand this 27th day of November, 2018.
22                                                             23
23                                                             24 __________________________________
24                                                                  KIMBERLY D'URSO
25                                                             25 RPR, CSR NO. 11372, STATE OF CALIFORNIA

                                      Page 167                                                                              Page 169
 1         PENALTY OF PERJURY CERTIFICATE                       1                ERRATA SHEET
 2                                                              2    If any corrections to your deposition are necessary,
 3        I hereby declare I am the witness in the within           indicate them on this sheet, giving the change, page
 4 matter, that I have read the foregoing transcript and        3 number, line number and reason for change.
 5 know the contents thereof; that I declare that the same      4 Page _____ Line ______ Reason ________________________
 6 is true to my knowledge, except as to the matters which      5 From___________________ to____________________________
 7 are therein stated upon my information or belief, and as     6 Page _____ Line ______ Reason ________________________
 8 to those matters, I believe them to be true.                 7 From___________________ to____________________________
 9       I declare being aware of the penalties of              8 Page _____ Line ______ Reason ________________________
10 perjury, that the foregoing answers are true and correct.    9 From___________________ to____________________________
11                                                             10 Page _____ Line ______ Reason ________________________
12        Executed on the______day                             11 From___________________ to____________________________
13 of______________________,                                   12 Page _____ Line ______ Reason ________________________
14 2018, at ____________________________.                      13 From___________________ to____________________________
15                                                             14 Page _____ Line ______ Reason ________________________
16               _________________________                     15 From___________________ to____________________________
                 SIMOUN GEBEYEHOU                              16 Page _____ Line ______ Reason ________________________
17                                                             17 From___________________ to____________________________
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23                                                             23 From___________________ to____________________________
24                                                             24 ________________________
25                                                             25 SIMOUN GEBEYEHOU


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